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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MATSON NAVIGATION COMPANY,
 INC.,

                Plaintiff,

        v.

 U.S. DEPARTMENT OF
 TRANSPORTATION, et al.,                                  Civil Action No. 18-2751 (RDM)

                Defendants,

 and

 APL MARINE SERVICES, LTD., et al.,

                Intervenor-Defendants.



                                            ORDER

       For the reasons set forth in the Court’s Amended Memorandum Opinion, Dkt. 44, and its

Memorandum Opinion on vacatur, Dkt. 48, it is hereby ORDERED that the Maritime

Administration’s (“MARAD”) 2016 approval of the APL Saipan for participation in the

Maritime Security Program is VACATED and the case is REMANDED to MARAD for further

proceedings consistent with this Order and the Court’s Amended Memorandum Opinion.

       This Order constitutes the final judgment of the Court within the meaning of Federal Rule

of Civil Procedure 58(a). The Clerk of the Court is directed to terminate the case.
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      SO ORDERED.


                                          /s/ Randolph D. Moss
                                          RANDOLPH D. MOSS
                                          United States District Judge


Date: June 30, 2020




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